          Case 1:09-cv-05456-LGS Document 100 Filed 03/22/18 Page 1 of 1
                                                            USDC SDNY
                                                            DOCUMENT
                                                            ELECTRONICALLY FILED
    UNITED STATES DISTRICT COURT                            DOC #:
    SOUTHERN DISTRICT OF NEW YORK                           DATE FILED: 3/22/2018



      UNITED STATES ex rel. BRIAN ARYAI,

                                 Plaintiffs,                 Case No. 09-cv-05456 (LGS)
              v.

      SKANSKA, et al.,

                                Defendants.


              NOTICE OF DISMISSAL AS TO DEFENDANT CM CONSORTIUM

           Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i) of the Federal Rules of Civil

    Procedure, Plaintiff United States ex rel. Brian Aryai hereby dismisses with prejudice the above

    captioned action against Defendant CM Consortium.


    Dated: March 20, 2018                          By: ​/s/ JOSEPH G. SCONZO_
                                                   Joseph G. Sconzo, Esq.
                                                   PGA Financial Plaza
Dated: March 22, 2018                              3399 PGA Boulevard, Suite 180
       New York, New York                          Palm Beach Gardens, FL 33410
                                                   Josephsconzolaw@gmail.com

                                                   Joshua L. Weiner, Esq.
                                                   BUDD LARNER, PC
                                                   1 50 John F. Kennedy Pkwy
                                                   Short Hills, NJ 07078
                                                   Tel: 973-379-4800
                                                   Fax: 973-379-7734
                                                   jweiner@buddlarner.com

                                                   Robert W. Sadowski, Esq.
                                                   SADOWSKI KATZ LLP
                                                            ​
                                                   830 3​rd Avenue, 5​th​ Floor
                                                   New York, New York 10022
                                                   Tel: (646) 503-5341
                                                   rsadowski@sadowskikatz.com

                                                   Attorneys for Plaintiff- Relator
